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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------X
JANE DOE, LUKE LOE, RICHARD ROE, and MARY :
MOE, individually and on behalf of all others similarly                 :
situated,                                                               :
                                                                        :
                                         Plaintiffs,                    :
                                                                        : No. 1:18-cv-09936 (LGS)
                  v.                                                    :
                                                                        :
THE TRUMP CORPORATION, DONALD J. TRUMP, in :
his personal capacity, DONALD TRUMP, JR., ERIC                          :
TRUMP, and IVANKA TRUMP,                                                :
                                                                        :
                                         Defendants.                    :
                                                                        :
------------------------------------------------------------------------X

     NOTICE OF MOTION TO WITHDRAW APPEARANCE OF CYNTHIA CHEN

        PLEASE TAKE NOTICE that, upon the accompanying declaration of Cynthia Chen,

dated June 10, 2020, and pursuant to Local Civil Rule 1.4, Defendants respectfully request the

withdrawal of the appearance of Cynthia Chen, Esq. as counsel on their behalf. Defendants

further request, pursuant to Section 2.5 of the Electronic Case Filing Rules & Instructions, that

the email address cchen@spearsimes.com be removed from the ECF service notification list for

this case.

        Joanna C. Hendon, now of Alston & Bird LLP, will remain as counsel of record to

Defendants.



Dated: June 10, 2020
       New York, New York
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                                          Respectfully submitted,

                                          SPEARS & IMES LLP
                                          /s/ Cynthia Chen

                                          Cynthia Chen
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                                          Counsel for The Trump Corporation,
                                          Donald J. Trump, in his personal capacity,
                                          Donald Trump, Jr., Eric Trump, and Ivanka
                                          Trump


SO ORDERED.

June __, 2020



                                          ______________________________
                                          The Honorable Lorna G. Schofield
                                          United States District Judge




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